                       Case
                       Case 5:17-cv-00886-DAE
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AO 450 (Rev. 01/09) Judgment in a Civil Action



                                      UNITED STATES DISTRICT
                                                                 for the
                                                                                         COURZ,                      Y,


                                                        Western District of Texas


          United States of America ex rel. et al
                        Plaint fj
                                V.                                          Civil Action No. SA-1 7-CV-886-DAE
                            aylor Scott
                            Defendant


                                                 JUDGMENT IN A CIVIL ACTION

The court has ordered that (check one):

1J  the plaintiff (name)                                                                                     recover from the
defendant (name)                                                                                                the amount of
                                                                            dollars ($             ), which includes prejudgment
interest at the rate of                   %, plus postjudgment interest at the rate of            %, along with costs.
 1   the plaintiff recover nothing, the action be dismissed on the merits, and the defendant       (name)
                                     recover costs from the plaintiff (name)


Iother:        The operative complaint is Plaintiff's second amended complaint, meaning Plaintiff has had at least two
               opportunities to reformulate their allegations to state a claim for relief that satisfied federal pleading
               standards, Plaintiff's claims are DISMISSED WITH Prejudice.


This action was (check one):

1J tried by a jury with Judge                                                                      presiding, and the jury has
rendered a verdict.
 J tried by Judge                                                                        without a jury and the above decision
was reached.
I decided by Judge           David A. Ezra




Date:            08/06/20 19                                               CLERK OF COURT          JEANTIErFE   J.   CLACK
